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                         Exhibit 2



   Def Con Website: Forums Section




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           Forum      DEF CON Conference Planning          DEF CON 31 Planning

                                       Guests can browse, to post please join the forums




           Sub-Forums                                                           Topics     Posts     Last Post


                 DC31: Contests                                                     203     268               Maps of the digital lands
               Want to compete in a contest or run one? All                                                   by thetoolman
               contests and events will be listed here. (in                                                   August 23, 2023, 05:40
              person) only, (hybrid) in-person & virtual, (virt)
              Virtual only
         Sub-Forums:
             Car Hacking Village     (4/4)              DEF CON 31 Beard        (1/1)             Blue Team Village CTF (3/5)
             CTF                                        and Mustache Contest
             Blacks In Cyber Village (3/3)              Creative Writing Short (7/28)              AutoDriving CTF contest (2/2)
             CTF                                        Story Contest
             ? Cube (4/7)                                Octopus Game (11/16)                      Phish Stories (6/6)
            Radio Frequency          (4/4)               CMD+CTRL Cyber         (6/7)              Darknet-NG (4/4)
            Capture the Flag                             Range
            DC Kubernetes            (3/3)               DC Sticker Design      (1/2)             Pub Quiz at DEF CON (2/6)
            Capture the Flag (CTF)                       Contest
             DEF CON Scavenger (4/4)                    DC’s Next Top Threat (7/7)                Ham Radio Fox Hunting            (4/4)
             Hunt                                       Model (DCNTTM)                            Contest
            DEFCON MUD DUMB (5/11)                       Dungeons@Defcon (4/5)                    Battle of the Bots (4/4)
            TERMINAL EDITION
             Capture the Packet (4/4)                    HardWired (4/0)                          CrackMeIfYouCan (4/7)
             Embedded CTF (4/4)                          Hac-Man (2/2)                            Hack-A-Sat 4 (HAS4) (4/4)
             Hacker Jeopardy (3/6)                       HackFortress (4/4)                       Hardware Hacking Village        (3/3)
                                                                                                  CTF
             IoT Village CTF (4/4)                      It's In That Place Where (2/2)            Maps of the digital lands (4/5)
                                                        I Put That Thing That
                                                        Time
            OpenSOC Blue Team          (1/1)            pTFS Presents:           (4/4)             Red Alert ICS CTF (4/4)
            CTF CANCELED                                Mayhem Industries –
                                                        Starphish
             Red Team CTF (4/7)                         Social Engineering       (2/2)            Social Engineering Community (4/4)
                                                        Community (SEC)                           (SEC) Youth Challenge
                                                        Vishing Competition
             TeleChallenge (6/8)                         The Beverage Cooling (2/6)               The Dark Tangent Look-Alike      (4/4)
                                                         Contraption Contest                      Contest
             The Gold Bug              (4/4)              The Lonely Hard Drive (4/4)              Tinfoil Hat Contest (3/3)
             Challenge


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            TOOOL Dozier Drill    (2/3)         venator aurum - A        (4/6)            Whose Slide Is It Anyway? (2/2)
            Lockpicking Challenge               Treasure Hunt
             Hack3r Runw@y (2/2)                IntelOps - Operation     (2/2)            5n4ck3y (4/4)
                                                Spacewatch
             Adversary Wars CTF (4/4)            Cloud Village CTF (2/2)                  DEF CON Chess Tournament (2/4)
             Trace Labs OSINT Search Party CTF (3/10)


                 DC31: Demo Labs                                             42     66               Slides
               Meet directly with the creator(s) of software                                         by tomgag
               tools or projects showing off their creations,                                        August 17, 2023, 16:19
              check out their tech and ask questions
         Sub-Forums:

           OWASP crAPI:           (1/1)            Vacuum Robot Hacking (1/2)            FlowMate - Florian Haag,         (1/1)
           Completely Ridiculous                   - Dennis Giese                        Nicolas Schickert
           API - Jayesh Ahire and
           Roshan Piyush
            Dracon - Spyros       (1/1)           Shufflecake, AKA         (4/4)         CNAPPGoat - Noam Dahan,          (1/2)
            Gasteratos                            Truecrypt on Steroids                  Igal Gofman
                                                  for Linux - Tommaso
                                                  Gagliardoni & Elia
                                                  Anzuoni
           Ek47 – Payload          (1/1)          Build Inspector - A      (1/1)          Strix Interceptor - Lexie Thach (1/2)
           Encryption with                        modern Javert on the
           Environmental Keys -                   trail of CI/CD Anomalies
           Kevin Clark, Skyler                    and Intruders - Jeremy
           Knecht                                 Banker
           T3SF (Technical         (1/1)           The Metasploit          (1/2)          Katalina - Gabi Cirlig (2/2)
           TableTop Exercises                      Framework - Spencer
           Simulation Framework) -                 McIntyre
           Federico Pacheco,
           Joaquin Lanfranconi
           SucoshScanny -          (1/1)          Vulnerable by Design:     (1/2)         Glyph - Corey Hartman (1/2)
           Mustafa Bilgici, Tibet                 Unguard, The Insecure
           Öğünç                                  Cloud-Native Twitter
                                                  Clone - Simon Ammer,
                                                  Christoph Wedenig
           EvilnoVNC: Next-Gen (1/1)              Attack Surface            (1/1)        OpenSSF Scorecard - Naveen (1/1)
           Spear Phishing Attacks                 Framework - Prajwal                    Srinivasan & Neil Naveen
           - Joel Gámez Molina                    Panchmahalkar & Mike
                                                  Henkelman
            Saturday - Joshua        (1/6)        Lambda Looter - Doug      (2/2)        The Wifydra: Multiheaded RF (1/1)
            Herman                                Kent & Rob Ditmer                      Panopticon - Lozaning
           USBvalve - Expose         (1/3)         Veilid - TC Johnson &    (1/3)        Lupo: Malware IOC Extractor - (1/2)
           USB activity on the fly -               Deth Veggie                           Vishal Thakur
           Cesare Pizzi
           Red Wizard: user-         (1/1)         Kraken, a modular multi- (1/3)        Abusing Microsoft SQL Server (1/1)
           friendly Red Teaming                    language webshell for                 with SQLRecon - Sanjiv Kawa
           infrastructure - Ben                    defense evasion - Raul
           Brücker                                 Caro
           BBOT (Bighuge BLS         (1/2)         Am I Exploitable? (MI- (1/1)          Pcapinator: Rise of the PCAP     (1/1)
           OSINT Tool) -                           X) - Ofri Ouzan & Yotam               Machines - Mike Spicer &
           TheTechromancer (Joel                   Perkal                                Henry Hill
           Moore) & Paul Mueller
            BLE CTF - Ryan           (1/1)        RuleProcessorY &        (1/3)          ThreatScraper: Automated         (1/2)
            Holeman & Alek Amrani                 Gramify - Rule                         Threat Intelligence Gathering
                                                  Optimization &                         and Analysis for VirusTotal -
                                                  Password Analysis tools                Aaron Morath & Dr. Scott
                                                  - Niels Loozekoot                      Graham


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            ProjectDiscovery Nuclei (2/4)         HardHat Command &         (1/1)          ICS Forensics tool - Maayan       (1/1)
            - Brendan O'Leary & Pj                Control Framework -                      Shaul & Ori Perez
            Metz                                  Jonathan Owens


                 DC31: Paid Training                                           38    39               Anthony Rose, Kevin Cl…
                 DEF CON Training: Unlike 4 hour workshops                                            by Coin
                 which happen during DEF CON, DEF CON                                                 June 22, 2023, 16:57
                Training are 2 days of training after con.
                defcontrainings.myshopify.com
         Sub-Forums:
             DC31: Paid training that were canceled (archive) (20/20)


                 DC31: Parties & Gatherings &                                  97    180              S.O.D.A Machine (Shell …
                 Events                                                                               by internetking
               Looking to meet other people in a social                                               August 12, 2023, 18:19
              gathering? Want to plan a get-together or
              party?
         Sub-Forums:

           Betting on Your Digital (3/6)            Panel: Ask the EFF (1/1)               Hacking Policy & Prompts -        (1/1)
           Rights: 2nd Annual EFF                                                          Happy Hour
           Benefit Poker
           Tournament at DC31
           Arts and Entertainment (4/6)             Lonely Hackers Club (8/8)              Blue Team Village Pool Party (1/5)
           general discussion
            Books, Books, Books (1/1)              Wisp Community Meet (1/1)               Village People Party (1/2)
            will Prevail                           Up at BTV Pool Party
           WISP Peer-to-Peer        (1/1)          WISP Chill Out Space (2/2)              S.O.D.A Machine (Shell On       (5/25)
           Mentoring and                           with Refreshments                       Demand Appliance)
           Networking
            THE UNOFFICIAL         (6/21)           Defcon.run (5/5)                        CycleOverride DEF CON Bike (2/9)
            DEF CON SHOOT                                                                   Ride
            The Book Exchange (1/1)                 Toxic BBQ (4/6)                         Arcade Party (1/4)
            VETCON (1/1)                            Queercon Party (1/1)                    GOTHCON 2023 (1/1)
            Friends of Bill (6/6)                   Queercon Mixers (4/4)                   EFF Tech Trivia (2/4)
             Hacker Karaoke (3/6)                   Ham Radio Exams (7/7)                  CULT OF THE DEAD COW       (2/11)
                                                                                           BREAKS THE INTERNET
                                                                                           (and you can too!)
            BIC 301-303 – Blacks (1/1)              BlanketFort Con (1/1)                   Hacker Flairgrounds (1/1)
            in Cyber Lituation Party
            CANCELED 'D’ in          (3/3)         DC 404/DC 678/ DC       (1/1)           DEF CON Holland Group             (1/1)
            Hacker Stands for                      770/ DC 470 (Atlanta                    Presents: VrijMiBo
            Diversity                              Metro)
             WISP DEF CON            (1/1)         University of Advancing (1/1)           Capitol Tech University (1/4)
             Scholars Meetup                       Technology
             Hack The Box (2/2)                     DC Kids Meetup (2/9)


                 DC31: Speakers & Presentations                                121   141              "Calling it a 0-Day - Hac…
                 Want to discuss and discover DEF CON 31                                              by TNR
                 speakers and their presentations?                                                    August 12, 2023, 11:40



                 DC31: Villages                                                146   164              Radio Frequency Village
                 Villages are the place to explore a topic in                                         by lost screw
                 depth organized by communities of hackers.                                           August 12, 2023, 13:45



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         Sub-Forums:
            A.I. Village (4/4)                        Misinformation Village (4/4)            XRVillage (4/4)
            DEFCON GROUPS           (5/5)             Blue Team Village (4/6)                 Aerospace Village (5/5)
            VR (DCGVR)
            Biohacking Village (4/4)                  Crypto & Privacy       (4/7)            Appsec Village (4/4)
                                                      Village
             Blacks In Cyber           (3/3)          Carhacking Village (4/4)                Cloud Village (4/4)
             Village
             Data Duplication          (5/5)          Embedded Systems        (4/4)           Ham Radio Village (4/4)
             Village                                  Village
            Hardware Hacking           (4/4)          ICS Village (4/4)                       Lockpick Village (4/8)
            Village & Soldering
            Skills Village
             IoT Village (4/4)                        Packet Hacking         (7/7)            Payment Village (4/4)
                                                      Village
             Physical Security   (4/4)                Password Village (5/5)                  Quantum Village (4/4)
             Village
             Policy@DEFCON (4/4)                      Radio Frequency       (4/5)             Telecom Village (6/6)
                                                      Village
             Tamper Evident Village (4/4)            SkyTalks CANCELED (1/1)                  CANCELED: Rogues Village (4/4)
                                                     by organizer
             Recon Village (4/4)                      Red Team Village (4/11)                 Social Engineering Community (8/9)
                                                                                              Village
             Voting Village (4/4)


                 DC31: Workshops                                               33     166                Guillaume Ross, Austin …
                 Workshops are 4 hour long mini-classes that                                             by gepeto
                 require pre-registration - some classes have                                            August 12, 2023, 17:56
                requirements for certain skills or equipment


                 Workshop: Other threads, or                                    1         9              Any word on workshops …
                 canceled workshops                                                                      by number6
                  In order to have some transparency on                                                  June 30, 2023, 13:28
                workshops that may have been offered, but
                were canceled, I'll try to put canceled
                workshops here with "strikeout" and change to
                title to indicate cancellation. Also, any threads
                not -on-topic to specific workshops, but about
                workshops may be placed here.


                 DC31: Rides and Roomsharing                                    7         9              Room Space Available …
                 Want to share a ride or room during a                                                   by Mr Frosty
                 pandemic?                                                                               August 9, 2023, 05:51


                                                           Mark Channels Read


          TOPICS        LATEST ACTIVITY        MY SUBSCRIPTIONS        PHOTOS

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                   Topics                                                             Statistics       Last Post

                   Sticky:      Helping you plan your DC31:                           3                by worldwise001

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                   scheds in HTML, PDF, Google Calendar,              responses            August 8, 2023,
                   ical, etc: view online or download                 481 views            00:22
                   Started by qumqats, July 25, 2023, 03:53           0 likes



                   Sticky:    DC31: Unofficial comments on            2                    by dmr
                   lines to redeem pre-reg codes, or buy              responses            July 31, 2023,
                   badges....                                         515 views            16:43
                   Started by number6, July 13, 2023, 07:39           0 likes


                   Sticky:   Extremely IMPORTANT notes                0                    by Undertaker
                   regarding human registration:                      responses            July 28, 2023,
                   Started by Undertaker, July 28, 2023, 17:01        379 views            17:01
                                                                      1 like


                     DC31 - Thanks                                    1 response           by drinkwater
                   Started by trill1990, August 25, 2023, 07:02       72 views             August 25, 2023,
                                                                      0 likes              22:49


                     Thank you DEFCON 31                              0                    by himple
                   Started by himple, August 14, 2023, 07:04          responses            August 14, 2023,
                                                                      85 views             07:04
                                                                      0 likes

                     Issue with wifi reg on Android                   5                    by popcorn
                   Started by chazchaz101, August 9, 2023, 12:43      responses            August 10, 2023,
                                                                      123 views            11:57
                                                                      0 likes

                     Wifi Reg                                         2                    by Tangential
                   Started by Station, August 8, 2023, 06:32          responses            August 8, 2023,
                                                                      180 views            10:36
                                                                      0 likes


                      DEF CON 31 badge lanyard style /                0                    by
                   attachment point                                   responses
                   Started by BrownieInMotion, July 25, 2023, 23:54   211 views
                                                                                   BrownieInMotion
                                                                      0 likes
                                                                                   July 25, 2023, 23:54


                     DC31 - Badge sharing/transfer                    4                    by tghosth
                   Started by tghosth, July 25, 2023, 00:16           responses            July 25, 2023,
                                                                      212 views            11:05
                                                                      0 likes


                     Newbie                                           2                    by Zzzzzz6er
                   Started by Zzzzzz6er, July 11, 2023, 17:25         responses            July 22, 2023,
                                                                      200 views            06:37
                                                                      0 likes


                   Vendors area missing in forums                     0                    by Michels
                   Started by Michels, July 15, 2023, 04:04           responses            July 15, 2023,
                                                                      132 views            04:04
                                                                      0 likes



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                   DEF CON 31 Badge SAO Angle                                   2                        by dmr
                   Started by lilibyte, June 2, 2023, 10:16                     responses                June 28, 2023,
                                                                                683 views                11:24
                                                                                0 likes



                   Problems with pre-registration                               0                        by v4jr4w4rr10r
                   Started by v4jr4w4rr10r, June 11, 2023, 08:59                responses                June 11, 2023,
                                                                                154 views                08:59
                                                                                0 likes


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